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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

BRIAN C. DAVISON,                                         )
                                                          )
        Plaintiff,                                        )
                                                          )
v.                                                        )      Civil Action No.: 1:16-cv-932
                                                          )               (JCC/IDD)
                                                          )
LOUDOUN COUNTY BOARD OF                                   )
SUPERVISORS, et al.,                                      )
                                                          )
        Defendants.                                       )

  DEFENDANTS LOUDOUN COUNTY BOARD OF SUPERVISORS, LEO ROGERS,
 PHYLLIS RANDALL, TONY BUFFINGTON, RON MEYER, AND GEARY HIGGINS’
   MOTION TO DISMISS FILED PURSUANT TO FED R. CIV. P. 12(b)(1)(6) and (d)

        COME NOW the defendants, Loudoun County Board of Supervisors (“the Board”), Leo

Rogers (“Rogers”), Phyllis Randall (“Randall”), Tony Buffington (“Buffington”), Ron Meyer

(“Meyer”) and Geary Higgins (“Higgins”), by counsel, pursuant to Fed. R. Civ. P. 12(b)(1)(6) and

(d), and move this court for dismissal with prejudice of all counts of the Complaint on the following

grounds:

        1.      The Complaint fails to state a claim or cause of action for which relief may be granted

against any of the defendants for alleged violation of First or Fourteenth Amendment Constitutional

rights, fails to assert substantial federal claims, and the individual defendants are entitled to qualified

immunity.

        2.      The Complaint fails to state a claim or cause of action based on any theory of

recovery for which relief may be granted against defendants Randall and Rogers in that the pleaded

facts are insufficient to support any recognized claims or causes of action against them.
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        3.      The court is without subject matter jurisdiction or proper venue to hear any claims

for alleged violation of the Virginia Freedom of Information Act (“FOIA”), Virginia Code §§ 2.2-

3700, et seq.

        WHEREFORE, the defendants respectfully request that, for all of the foregoing reasons, and

based on the arguments set forth in defendants’ accompanying memorandum as well as any

additional reasons that may be argued at hearing of this matter, the court grant their Motion to

Dismiss filed pursuant to Fed. R. Civ. P. 12(b)(1), (6) and (d) and dismiss this case and all claims

with prejudice. Pursuant to local rule 11(b) counsel will arrange for scheduling of a hearing in this

matter. The plaintiff herein is pro se and pursuant to and consistent with the requirements of

Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the following warning is provided:

        1.      The plaintiff is entitled to file a response opposing the defendants’ Motion to Dismiss

and any such response must be filed within 20 days or as ordered by the court; and

        2.      The court could dismiss this action on the basis of the defendants’ papers if the

plaintiff does not file a response;

        3.      The plaintiff must identify all facts stated by the defendants with which he disagrees

and must set forth the plaintiff’s version of the facts by offering affidavits (written statements signed

before a Notary Public and under oath) or by filing sworn statements (bearing a certificate that it is

signed under penalty of perjury); and

        4.      The plaintiff is entitled to file a legal brief in opposition to the one filed by the

defendants.




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                      LOUDOUN COUNTY BOARD OF SUPERVISORS, LEO ROGERS,
                      PHYLLIS RANDALL, TONY BUFFINGTON, RON MEYER, AND
                      GEARY HIGGINS

                      By Counsel


             /s/
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Counsel for Defendants

                                CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of August, 2016, I electronically filed the foregoing
pleading with the Clerk of Court using the CM/ECF system, and emailed and mailed copy to the
plaintiff who is pro se, along with Roseboro Notice included herein, to the following:

                      Mr. Brian C. Davison
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                                                                 /s/
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